:25-mj- - - Page 1 of 20
lei | Coeeacc? mj-00433-JSA Document 2-1 Filed 04/30/25 eck age 1 of s

AQ'442 (Rev. 11/11) Arrest Warrant

UNITED STATES DISTRICT COURT

. for the : a
Northern District of Ohio -
United Sikes of America
oY, ) a
i ) Case No.
Chinedu Opute ) s
)
Defendant
ARREST WARRANT

1
ie

To: Any authorized law enforcement officer

YOU ARE COMMANDED to arrest and bring before a United States magistrate judge without unnecessary delay
(name of person to be arrested)’ _Chinedu Opute L
who is accused of an offense or violation based on the following document filed with the court:

& Indictment 0 Superseding Indictment © Information © Superseding Information © Complaint
© Probation Violation Petition ©) Supervised Release Violation Petition © Violation Notice ( Order of the Court
This offense is briefly described as follows:

Conspiracy to Commit Wire Fraud and Bank Fraud, 18 U.S.C. § 1349
Wire Fraud, 18 U.S.C. §§ 1343 and 2

Conspiracy to Commit Money Laundering, 18 U.S.C. § 1956(h)
Aggravated Identity Theft, 18 U.S.C. §§ 1028A(a)(1} and 2

Date: 04/16/2025 -

& oT. atfotsalguatine
City and state: _ Cleveland, Qhio a
o ( 7 Printed name and title

Return

-
This warrant was received on (date) U | § 12 O24 , and the person was
at (city and state) j .

ie ufpo\075

On (date) U | 24 | 0K

. __ Arrestiffg officer's signature
Special byork Vodi nodart

& Printed name and title

Case 1:25-mj-00433-JSA Document 2-1 Filed 04/30/25 Page 2 of 20

a Mee

IN THE UNITED STATES DISTRICT COURT

. FOR THE NORTHERN DISTRICT OF OHIO
i EASTERN DIVISION
UNITED STATES OF AMERICA, ) INDICTMENT
| ) mae
Plaintiff, )
: ) : 0166
v. $ ) CASE NO. 1 29 CR 0 6

n . ) Title 18, United States Code,

. CHINEDU OPUTE, ) Sections 1028A(a)(1), 1343,
7 ) 1349, 1956(h), and 2
Defendant. )
“ ) JUDGE BRENNAN

4
a

GENERAL ALLEGATIONS
At all times material to this Indictment, unless otherwise specified:

1, Defendant CHINEDU OPUTE, a citizen of the Federal Republic of Nigeria and
lawful permanent resident in the United States, resided in or around Sandy Springs, Georgia.
From time to tine, Defendant used the alias Angel Adames.

> Victim 1 was a government body located in Parma Heights, Ohio, in the Northern
District of Ohio, Easter Division. Victim 1 had an account ending in x7417 with Huntington
National Bank (the “Victim 1 Huntington account”).

a Victim 2 was a commercial construction company located in Bedford, Ohio, in
the Northern District of Ohio, Eastern Division. Victim 2 had an account ending in x9059 with
United Conny Bank f/k/a Seaside Bank & Trust (the “Victim 2 United account”).

4. Victim 3 was a car dealership located in Everett, Washington. Victim 3 had an

account ending in x0133 at Wells Fargo Bank (the “Victim 3 Wells Fargo account”).

£
ep

aby 7
‘
ae *

Case 1:25-mj-00433-JSA Document 2-1 Filed 04/30/25 Page 3 of 20

a: Grameen Dry Food Supplier LLC f/k/a Overseas Dry Food Supply LLC
(“ODFS”) was “ limited liability company organized under the laws of the State of Georgia on or
about July 15, 2022. Angel Adames was its listed organizer and registered agent.

6. we Morgan Chase & Co. (“Chase”) was a U.S.-based financial institution that

offered financial services, including PRN bank accounts, to its customers. A “PRN,” or “pass-

through,” foank accbint was a virtual wallet product wherein funds briefly “passed through” an

established United States-based bank account before entering the true destination account, which
was typically that of an online money services business or an overseas entity.
7. Airwallex US LLC (“Airwallex”) was a registered money services business that

offered virtual business accounts. Airwallex purchased PRN accounts from Chase and offered

Xs

fg

them as a service to Airwallex customers. Airwallex stored its account information on servers

located outside of the United States.

: COUNT 1
(Conspiracy to Commit Wire Fraud and Bank Fraud, 18 U.S.C. § 1349)
The Grand Jury charges:
8. The factual allegations contained in Paragraphs | through 7 of the Indictment are

re-alleged and incorporated by reference as if fully set forth herein.

9. From in or around July 2022 through on or about the date of this Indictment, in
the Northern Distt of Ohio, Eastern Division, and elsewhere, Defendant CHINEDU OPUTE,
and others ue and unknown to the Grand Jury, did knowingly and intentionally combine,
conspire, oiiaate and agree with each other to commit federal fraud offenses, that is, to
devise and intend to devise, a scheme and artifice to defraud Victim 1, Victim 2, Victim 3, and

others (collectively, the “Victim Entities”), and to obtain money and property, including moneys,

funds, and credits under the custody and control of federally insured financial institutions, by

Lobeea
Case 1:25-mj-00433-JSA Document 2-1 Filed 04/30/25 Page 4 of 20

means of false and fraudulent pretenses, representations and promises, and (i) for the purpose of
executing and atiempting to execute the scheme and artifice to defraud, to cause to be transmitted
by means of wire communication in interstate commerce, writings, signs, signals, pictures and
sounds, in Aauiion of Title 18, United States Code, Section 1343 (Wire Fraud); and (ii) to
knowingly sree: and attempt to execute, the scheme and artifice, in violation of Title 18,
United States Code, Section 1344(2) (Bank Fraud), to wit: to induce the Victim Entities to
transfer funds to accounts controlled by the conspirators, and to cause financial institutions to
transmit funds under their custody and control to the conspirators and their designees, all based
on material misrepresentations and omissions, including the unlawful use of other persons’
identities.

k Objects and Purposes of the Conspiracy and Scheme

a

10. The objects and purposes of the conspiracy and scheme were to: (1) gain
unauthorized access to email accounts held by individual users of the Victim Entities; (2) defraud

the Victim Entities by requesting payment under materially false and fraudulent pretenses;

‘r

ty

(3) prevent detection of the conspiracy; and (4) enrich the conspirators and others.

Manner and Means of the Conspiracy and Scheme

11. _ It.was part of the conspiracy and scheme that:

e
ce

a.’ Conspirators sought to compromise, and did compromise, email accounts
of businesses, government entities, and other Victim Entities.

b." Conspirators phished email accounts of individual users within the Victim
Entities to obtain:unauthorized access to an individual’s email account at a Victim Entity, which
allowed onsgliteisen to monitor the communications of the individual user and learn the Victim

Entity’s business practices and contacts.

&
LE
a
Case 1:25-mj-00433-JSA Document 2-1 Filed 04/30/25 Page 5 of 20

g

é. : Conspirators typically identified a third-party creditor or vendor to which
a Victim Entity owed, or would owe, payment and diverted legitimate email communications
from that third-party to the individual user’s spam folder.

d. Conspirators created an email account with an address that closely

resembled the third-party creditor or vendor entity’s email address.

&
ae

e..  Conspirators sent a fraudulent email from this new account to the
individual user at the Victim Entity, purporting to request payment to the third-party entity.

f. ‘ Conspirators typically included in the fraudulent email payment
instructions diredting funds to PRN bank accounts, which allowed conspirators to conceal their
identities and locations and to appear more legitimate to the Victim Entity.

g. Conspirators caused and attempted to cause the Victim Entity to send
money as directed to the PRN bank accounts and other bank accounts that the conspirators
controlled.

h. Conspirators caused and attempted to cause banks and financial
institutions to transfer funds to accounts that the conspirators controlled under false and
fraudulent pretenses, including accounts held in the names of real people and synthetic identities.

i. Conspirators quickly disbursed the stolen funds from the accounts into
which they were deposited, often by loading them onto pre-paid debit cards that the conspirators
controlled but that were in the names of real people and synthetic identities.

je : Conspirators used the fraudulently obtained funds to enrich themselves

and their designees, including family members.

u
&
e"
Case 1:25-mj-00433-JSA Document 2-1 Filed 04/30/25 Page 6 of 20

ae Mee 7

Acts in Furtherance of the Conspiracy and Scheme

12. _ In‘furtherance of the conspiracy and scheme, and to accomplish the objects and
purposes and conceal the existence thereof, a member of the conspiracy committed and caused to
be committed, in the Northern District of Ohio, and elsewhere, the following acts, among others:

13. On or about July 15, 2022, a conspirator, using the alias Angel Adames,
registered ODFS.s a limited liability company with the Georgia Secretary of State.

14. On or about December 9, 2022, a conspirator, using the alias Angel Adames,
registered the ie www.odfslic.com with Servicer 1, a company that provided cloud-based

.

web development services,

15. On or about April 19, 2023, a conspirator, using the alias Angel Adames,
registered an Arent account ending in x033e1 in the name of ODFS (the “ODFS Airwallex
account”),

16. On or about June 6, 2023, the conspirators caused Victim 1 to wire approximately
$504,576.01 from the Victim 1 Huntington account to a Chase account ending in x3235.

17. Oni or about June 6, 2023, the conspirators caused Chase to transfer approximately
$504,576.01 to the ODFS Airwallex account, using the Chase account ending in x3235 asa
PRN. '

18. On or about June 6, 2023, the conspirators caused Victim 2 to wire approximately
$337,680 from the Victim 2 United account to a Chase account ending in x3235.

19, On or about June 6, 2023, the conspirators caused Chase to transfer approximately

$337,680 to the ODFS Airwallex account, using the Chase account ending in x3235 as a PRN.

20. On or about June 7, 2023, Defendant and a coconspirator had a videochat in

y

nae

which Defendant showed the coconspirator a second cell phone depicting a chat conversation in
Case 1:25-mj-00433-JSA Document 2-1 Filed 04/30/25 Page 7 of 20

£
¥

which Defendant anil a coconspirator discussed Chase banking information and a Citibank
account ending in x0655 in the name of Entity 1.

oT; On or about June 7, 2023, Defendant initiated a transfer of approximately
$98,644.56 from’the ODFS Airwallex account to a Citibank account ending in x0655 in the
name of Entity 1 with the description “goods_purchased INVOICE 23052.”

22.  Onor about the dates listed below, Defendant and a coconspirator sent the

following WhatsApp messages, each such message constituting an act in furtherance:

Date 5 Sender Recipient Description
a | June 8, 2023 Coconspirator | Defendant “Send me screenshot”
b | June 8, 2023 | Coconspirator | Defendant “Send account you want us to use”

23. On or about June 13, 2023, the conspirators caused Victim 3 to wire
approximately $250,000 from the Victim 3 Wells Fargo account to a Chase account ending in
x0865.

24. On or about June 13, 2023, the conspirators caused Chase to transfer

.
+

approximately $250,000 to the ODFS Airwallex account, using the Chase account ending in
x0865 as a PRN.’

25. on or about June 15, 2023, the conspirators caused Victim 1 to attempt to wire
approximately $469,200 from the Victim 1 Huntington account to a Trustmark National Bank
account ending ini x8057, which wire was stopped.

26. On or about the dates listed below, Defendant initiated the following transfers of
funds from the ODFS Airwallex account to Pathward pre-paid debit cards in the names, amounts,

and with the descriptions set forth below, each such transfer constituting a separate act in

furtherance:

i Date Amount Description Name
a June 7, 2023 $8,654.19 | freight odfs payment G.H.

2 Mee 7
Case 1:25-mj-00433-JSA Document 2-1 Filed 04/30/25 Page 8 of 20

Date Amount Description Name
b June 7, 2023 $7,936.34 | freight Odfs Payment C.J.
c June 7, 2023 $8,534.29 | freight odfs payment I.G.
d June 7, 2023 $4,670.50 | wages_salary odfs payment J.B.
e June 7, 2023 $8,718.12 | freight odfs J.M
f June 7, 2023 $8,525.13 | freight odfs payment TJ3
g June 7, 2023 $9,363.12 | freight odfs payment C.D.
h June 7, 2023 $9,440.00 | freight Invoice 7362 A.F,
i June 7, 2023 $9,312.50 | freight odfs S.N.
j June 7, 2023 $5,093.10 | wages_salary odfs payment JR.
k June 7, 2023 $9,123.50 | freight odfs payement G.G.
] June 7, 2023 $9,729.56 | freight odfs payment R.B.
m June 7, 2023 $9,434.50 | freight odfs Payment S.D.
n June 7, 2023 $6,428.10 | wages_salary Odfs Payment L.M.
0 June 7, 2023 $8,500.00 | freight Invoice 6570 K.V.
p June 7, 2023 $9,543.12 | wages salary Odfsllc April payment | P.M.
q June 7, 2023 $5,102.12 | wages_salary Odfs Payment W.W.
r June 7, 2023 $9,432.34 | freight odfs K.S.2
S June 7, 2023 $7,625.50 | wages_salary Odfs payment T.W.
t June 7, 2023 $4,984.12 | wages_salary Odfs Payment Z.R.
u June 7, 2023 | $9,101.59 | wages salary Odfs payment M.K.
Vv June 7, 2023 $8,196.89 | freight odfs payment Cie?
Ww June 7, 2023 $6,470.10 | wages_salary Odfs May Payment M.M.
x June 7, 2023 $4,816.76 | wages_salary Odfs pay D.R.
y Jie 7, 2023 | $9,672.21 | freight Odfs payment L.R.
Zz June 7, 2023 $8,114.13 | wages salary odfs May Payment W.T.
aa June 7, 2023 $4,539.10 | wages_salary odfs payment L.E.
bb June 7, 2023 $9,100.12 | freight Odfs Payment B.M.2
cc June 7, 2023 $5,372.19 | wages_salary odfs payment P.W.
dd June 7, 2023 $7,612.10 | wages_salary Odfs Payment D.H.
ee June 7, 2023 $6,000.12 | freight Odfs payment A.W.
ff June 7, 2023 $6,500.00 | freight Odfs payment D.M.3
gg June 7, 2023 $8,928.12 | freight odfs T.T.
hh June 7, 2023 $9,938.23 | freight Odfs Payment D.J.2
ii June 7, 2023 $9,673.32 | freight odfs payment P.M.
ij June 7, 2023 | $5,121.50 | wages_salary Odfs Payment Ce.
kk June 7, 2023 $7,616.78 | freight Oddf payment $.D.2
Il June 7, 2023 $5,220.00 | wages_salary Odfs Payment T.J.
mm June 7, 2023 $9,800.50 | freight odfs payment JF.
nn June 7, 2023 $7,379.23 | freight odfs payment N.G.
00 $8,266.20 | freight ODFS PAYMENT B.M.

June 7, 2023

Case 1:25-mj-00433-JSA Document 2-1 Filed 04/30/25 Page 9 of 20

Z

Date Amount Description Name
pp June 7, 2023 $7,983.12 | other_services Odfs payment R.H.
qq June 7, 2023 $6,200.00 | wages_salary Odfs Payment L.W.
Ir June 7, 2023 $4,637.60 | wages_salary odfs payement D.W.
ss June 7, 2023 | $8,726.10 | freight Odfs payment E.B.
tt June 7, 2023 $7,102.12 | wages_salary Odfs Payment N.P.
uu June 7, 2023 $5,602.00 | wages_salary odfs payment N.D.
vv June 7, 2023 $6,502.10 | wages_salary Odfs May payment R.M.
ww June 7, 2023 $8,736.68 | freight odfs payment KJ.
XX June 7, 2023 $9,102.12 | freight odfs payment D.T.
yy June 7, 2023 $8,121.20 | wages_salary Odfs payment D.P.
ZZ June 7, 2023 $8,622.20 | freight odsf payment D.M.
aaa June 7, 2023 $9,000.00 | freight odfs payment K.B.
bbb June 7, 2023 $9,453.21 | freight odfs payment DJ.
cee June 7, 2023 | $8,736.10 | freight odfs payment A.J.
ddd June 10, 2023 | $9,164.70 | freight odfs TBs
eee June 10, 2023 | $8,940.23 | freight odfs paymenyts G.P.
fff June 10, 2023 | $8,987.23 | freight ODFS PAYMENT i
ggg June 10, 2023 | $8,239.34 | freight ODFS PAYMENT LP.
hhh June 10, 2023 | $8,477.43 | freight ODFS PAYMENT KL.
iii June 10, 2023 | $9,832.45 | freight ODFS PAYMENTS D.M.2
ji June 10, 2023 | $9,473.30 | freight ODFS PAYMENT ES.
kkk June 10, 2023 | $8,732.23 | freight odfs payment C.A.
ll June 10, 2023 | $7,950.12 | freight ODFS PAYMENT V.W.
mmm _ | June 10, 2023 | $9,832.00 | freight ODFS PAYMENTS J.D.
nnn June 10, 2023 | $8,921.56 | freight odfs payment J.O.
000 June 10,2023 | $9,832.00 | freight ODFFS PAYMENTS J.M.2
ppp June 10, 2023 | $9,891.62 | freight ODFS PAYMEMT E/H.
qaq June 10, 2023 | $9,366.12 | freight ODFS PAYMENTS D.M.
rit June 10, 2023 | $9,487.67 | freight ODFS PAYMENT B.S.
SSS June 19, 2023 | $5,000.10 | wages_salary ODFS PAYMENTS M.M.
ttt June 19, 2023 | $4,980.10 | wages_salary ODFS PAYMENT N.G.
uuu June 19, 2023 | $5,012.00 | wages_salary ODFS PAYMENTS D.H.
vvv June 19, 2023 | $5,000.00 | wages_salary ODFS PAYMENTS T.W.
www | June 20, 2023 | $9,893.53 | wages_salary ODFS PAYMENT C.€.2
XXX June 20, 2023 | $5,000.00 | wages_salary odfslic payment P.W.
yyy June 20, 2023 | $5,000.00 | wages_salary odfsllc payment E.B.
ZZZ June 20, 2023 | $5,000.00 | wages_salary odfsllc J.B.
aaaa June 20, 2023 | $5,000.00 | wages_salary odfsllc J.R.
bbbb June 20, 2023 | $4,984.21 | wages_salary odfs llc payment D.W,
cece June 20, 2023 | $9,798.21 | freight ODFS PAYMENT D.P.

te ge *

Case 1:25-mj-00433-JSA Document 2-1 Filed 04/30/25 Page 10 of 20

’ Date Amount Description Name
dddd June 20, 2023 | $4,809.17 | wages salary odfspayment L.M.
ecee June 20, 2023 | $5,000.00 | wages_salary odfsllc payment T.T,
ffff June 20, 2023 | $5,000.00 | wages_salary odfsllc LG.
gegg June 20, 2023 | $4,986.00 | wages_salary odfsllc payment G.H.
hhhh June 20, 2023 | $5,000.00 | wages_salary odfsllc L.W.
iii June 20, 2023 | $5,000.00 | wages_salary odfsllc payment L.E.
UH June 20, 2023 | $5,000.00 | wages_salary odfsllc payment G.G.
kkkk June 20, 2023 | $4,989.01 | wages_salary odfsllc payment N.P.
ill June 20, 2023 | $9,084.12 | freight ODFS PAYMENT Z.R.
mmmm | June 20, 2023 | $4,987.12 | wages_salary odfsllc payment K.B.
nnnn June 20, 2023 | $4,989.12 | wages_salary odfsllc payment R.M.
0000 June 20, 2023 |} $5,000.00 | wages_salary odfsllc payment Tul
pppp June 20, 2023 | $5,000.00 | wages_salary odfsllc payment A.J.
qqqq June 20, 2023 | $4,983.00 | wages_salary odfsllc W.W.,
rrr June 20, 2023 | $4,987.00 | wages salary odfsllc payment K.V.
SSSS June 20, 2023 | $4,989.00 | wages_salary odfsllcpayment R.B.
tttt June 20, 2023 | $5,000.00 | wages_salary odfslle payment A.W.
uuuu June 20, 2023 | $5,000.00 | wages_salary S.D.2
VVVV June 20, 2023 | $5,000.00 | wages_salary odfsilc D.R.
wwww | June 20, 2023 | $5,000.00 | wages_salary odfsllc payment AF.
xxxx | June 20, 2023 | $5,000.00 | wages salary odfsllc payment S.D.
yyyy June 20, 2023 | $4,985.00 | wages_salary odfsllc D.M.3
ZZZZ June 20, 2023 | $9,358.12 | wages salary ODFSLLC W.T.
aaaaa_ | June 20,2023 | $5,000.00 | wages_salary odfsllc payment M.K.
bbbbb | June 20, 2023 | $5,000.00 | wages_salary odfsllc payment DT.
ececc | June 20, 2023 | $5,000.00 | wages_salary odfsllc payment N.D.
ddddd | June 20, 2023 | $5,000.00 | wages_salary odfsllc Cx,
eeeece | June 20,2023 | $5,000.00 | wages_salary odfsllc S.N.

27. | Onor about the dates listed below, Defendant initiated the following transfers of
funds from the ODFS Airwallex account to Central Bank of Kansas pre-paid debit cards in the
names, amounts, and with the descriptions set forth below, each such transfer constituting a

separate act in furtherance:

. Date Amount Description Name
a June 20, 2023 | $5,000.00 | wages salary WAGES K.J.
June 20, 2023 | $4,988.12 | wages_salary WAGES G.H.

c Juine 20, 2023 | $5,000.12 | wages_salary WAGES A.W,

»
Case 1:25-mj-00433-JSA Document 2-1 Filed 04/30/25 Page 11 of 20

“
iz

28. | Onor about the dates listed below, Defendant and a coconspirator sent the

following WhatsApp messages, each such message constituting a separate act in furtherance:

Date S Sender Recipient Text or Description

a_ | June 20, 2023 | Coconspirator | Defendant ‘Need drop for Ach(open) for 800k due

: on 27th so I wan run am early enough. .
. Yankee 2 yankee” [discussion about
anticipating an $800,000 deposit

y transferred between U.S.-based banks]

b | June 20, 2023 | Defendant Coconspirator | “Let’s run”

c | June 20, 2023 | Defendant Coconspirator | “I guarantee you”

d | June 20, 2023 | Coconspirator | Defendant “Send full details”

e | June 20, 2023 | Coconspirator | Defendant “Bank name , Ach routing, Account

number and bank address”

f | June 21,2023 | Defendant Coconspirator | Screenshot depicting account details for
: Chase account ending in x0865 in the
# name of ODFS

-g | June 23, 2023 | Defendant Coconspirator | “To account closed”

h | June 23, 2023 | Defendant Coconspirator | “This morning”

i | June 23, 2023 | Defendant Coconspirator | “Will have to past u another”

j | June 23, 2023 | Defendant Coconspirator | Same text as immediately above
iat accompanied by screenshot depicting
& account details for “[Entity 2}’ account
ending in x5845 at Chase

k | June 23, 2023 | Defendant Coconspirator | “Use this one”

1 | June 23, 2023 | Coconspirator | Defendant “Ok”

All in violation of Title 18, United States Code, Section 1349.
° COUNTS 2-3
(Wire Fraud, 18 U.S.C. §§ 1343 and 2)
The Grand Jury further charges:

29. The factual allegations contained in Count 1 of the Indictment are re-alleged and

¥

incorporated by reference as if fully set forth herein.

30. On or about the following dates, in the Northern District of Ohio, Eastern

»

Division, and elsewhere, Defendant CHINEDU OPUTE, aiding and abetting others known and

unknown to the Grand Jury, having devised and intended to devise the foregoing scheme and

fo Mees .

10

Case 1:25-mj-00433-JSA Document 2-1 Filed 04/30/25 Page 12 of 20

artifice to defraud, and to obtain money and property by means of materially false and fraudulent
pretenses, epreeecualieand and promises, for the purpose of executing the foregoing scheme and
artifice to defraud, and attempting to do so, knowingly caused to be transmitted the following
writings, signs, signals, pictures, and sounds by means of wire communications in interstate
commerce, to wit the following wire transfers of funds from victims in the Northern District of
Ohio, processed through Chase bank account ending in x3235 located outside of the state of
Ohio, to the ODFS Airwallex account ending in x033e1 located outside of the United States,

each transmission constituting a separate count of this Indictment:

Count Date Description Originating/Location
2 June 6, 2023 | Wire transfer of $504,576.01 Huntington bank account
from Victim 1 ending in x7417 in Parma
& Heights, OH
3 June 6, 2023 | Wire transfer of $337,680 from | United bank account ending in
‘: Victim 2 x9059 in Bedford, OH

All in violation of Title 18, United States Code, Sections 1343 and 2.

$ COUNT 4
(Conspiracy to Commit Money Laundering, 18 U.S.C. § 1956(h))

The Grand Jury farther charges:

31. The factual allegations contained in Count 1 of the Indictment are re-alleged and
incorporated by fetereri as if fully set forth herein.

32. From in or around June 2023 through on or about the date of this Indictment, in
the Northern District of Ohio, Eastern Division, and elsewhere, Defendant CHINEDU OPUTE,
and others known and unknown to the Grand Jury, did knowingly and intentionally combine,
conspire, confederate and agree with each other to commit an offense against the United States in
violation of Title'18, United States Code, Section 1956, to wit: knowingly conducting and

attempting to cortduct financial transactions affecting interstate and foreign commerce, which

11
Case 1:25-mj-00433-JSA Document 2-1 Filed 04/30/25 Page 13 of 20

involved the proceeds of specified unlawful activity, to wit: Wire Fraud, in violation of Title 18,
United States Code, Section 1343, and Bank Fraud, in violation of Title 18, United States Code,
Section 1344(2), knowing that the transactions were designed in whole or in part to conceal and
disguise the nature, location, source, ownership, and control of the proceeds of specified
unlawful aivie’ and that while conducting and attempting to conduct such financial
transactions, knew that the property involved in the financial transactions represented the
proceeds of usin form of unlawful activity, in violation of Title 18, United States Code, Section
1956(@)(1)(B)(i).
: Acts in Furtherance of the Conspiracy

33. In farthest of the conspiracy, and to accomplish the objects and conceal the
existence thereof, a member of the conspiracy committed and caused to be committed, in the
Northern ethos Ohio, and elsewhere, the following acts, among others:

34. On or about the following dates, a conspirator withdrew funds using pre-paid
Pathward debit cards in the names, amounts, and at the bank ATMs set forth below, each such

withdrawal constituting a separate act in furtherance:

Date Amount Bank ATM Account Name
a June 8, 2023 $982.50 Wells Fargo AF,
b June 8, 2023 $982.50 Wells Fargo D.T.
c June 8, 2023 $982.50 Wells Fargo G.G.
d ‘June 8, 2023 $982.50 Wells Fargo G.H.
= June 8, 2023 $983.00 Wells Fargo J.B.
f June 8, 2023 $983.00 Bank of America J.M.
g June 8, 2023 $982.50 Wells Fargo KJ.
h June 8, 2023 $983.00 Wells Fargo L.E.
i June 8, 2023 $983.00 Wells Fargo R.B.
j June 9, 2023 $983.00 Wells Fargo AF.
k -June 9, 2023 $983.00 Wells Fargo D.T.
l -June 9, 2023 $983.00 Wells Fargo G.G.
m June 9, 2023 $983.00 Wells Fargo G.H.
n - June 9, 2023 $983.00 Wells Fargo J.B.

=

12
¥
aE
=

Case 1:25-mj-00433-JSA Document 2-1 Filed 04/30/25 Page 14 of 20

Date Amount Bank ATM Account Name
0 June 9, 2023 $983.00 Wells Fargo JM.
p June 9, 2023 $983.00 Wells Fargo K.J.
q June 9, 2023 $983.00 Wells Fargo L.E.
r June 9, 2023 $983.00 Wells Fargo R.B.
$ June 10, 2023 $983.00 Wells Fargo AF.
t June 10, 2023 $983.00 Wells Fargo D.T.
u June 10, 2023 $983.00 Wells Fargo G.G.
Vv June 10, 2023 $983.00 Wells Fargo G.H.
w June 10, 2023 $983.00 Wells Fargo J.B.
x ‘June 10, 2023 $983.00 Wells Fargo J.M.
y June 10, 2023 $983.00 Wells Fargo KJ.
Z June 10, 2023 $983.00 Wells Fargo L.E.
aa .June 10, 2023 $983.00 Wells Fargo R.B.
bb June 11, 2023 $983.00 Wells Fargo AF,
cc June 11, 2023 $983.00 Wells Fargo G.G.
dd ‘June 11, 2023 $983.00 Wells Fargo G.H.
ee June 11, 2023 $983.00 Wells Fargo J.B.
ff June 11, 2023 $983.00 Wells Fargo J.M.
gg ‘June 11, 2023 $983.00 Wells Fargo K.J.
hh June 11, 2023 $983.00 Wells Fargo R.B.
ii June 12, 2023 $983.00 Wells Fargo D.T.
jj ‘June 12, 2023 $983.00 Wells Fargo L.E.
kk June 13, 2023 $983.00 Wells Fargo AF.
ll June 13, 2023 $983.00 Wells Fargo D.T.
mm June 13, 2023 $983.00 Wells Fargo E.H.
nn June 13, 2023 $983.00 Wells Fargo G.G.
00 June 13, 2023 $983.00 Wells Fargo G.H.
pp June 13, 2023 $703.00 Bank of America J.B.
qq June 13, 2023 $983.00 Wells Fargo JM.
IT June 13, 2023 $983.00 Wells Fargo KJ.
SS June 13, 2023 $583.00 Bank of America L.E.
tt June 13, 2023 $983.00 Wells Fargo M.D.
uu June 13, 2023 $983.00 Wells Fargo R.B.
vv June 13, 2023 $983.00 Wells Fargo EX.
ww June 14, 2023 $983.00 Wells Fargo AF.
XX June 14, 2023 $983.00 Wells Fargo D.T.
yy June 14, 2023 $983.00 Wells Fargo E.H.
ZZ June 14, 2023 $983.00 Wells Fargo G.G,
aaa ‘June 14, 2023 $983.00 Wells Fargo G.H.
bbb $983.00 Wells Fargo IM.

June 14, 2023

ae We!

13

Case 1:25:mj-00433-JSA Document 2-1

Filed 04/30/25

Page 15 of 20

; Date Amount Bank ATM Account Name
ccc ‘June 14, 2023 $983.00 Wells Fargo KJ.
ddd June 14, 2023 $983.00 Wells Fargo M.D.
eee ‘June 14, 2023 $983.00 Wells Fargo R.B.
fff June 14, 2023 $983.00 Wells Fargo T.C.
gee June 15, 2023 $983.00 Bank of America AF.
hhh ‘June 15, 2023 $982.50 Wells Fargo D.T.
iii June 15, 2023 $983.00 Wells Fargo E.H.
ii June 15, 2023 $983.00 Bank of America G.G.
kkk ‘June 15, 2023 $983.00 Bank of America G.H.
lll June 15, 2023 $983.00 Wells Fargo JIM.
mmm June 15, 2023 $983.00 Wells Fargo K.J.
nnn June 15, 2023 $983.00 Wells Fargo M.D.
000 June 15, 2023 $983.00 Bank of America R.B.
ppp June 15, 2023 $983.00 Bank of America T.C.
qqq June 16, 2023 $983.00 Wells Fargo AF.
rir June 16, 2023 $983.00 Bank of America D.T.
SSS June 16, 2023 $982.50 Wells Fargo G.G.
ttt June 16, 2023 $982.50 Wells Fargo G.H.
uuu June 16, 2023 $983.00 Wells Fargo J.M.
vvv June 16, 2023 $983.00 Wells Fargo KJ.
www June 16, 2023 $982.50 Wells Fargo R.B.
XXX June 16, 2023 $983.00 Wells Fargo T.C.
yyy :-June 17, 2023 $983.00 Wells Fargo A.F,
ZZZ ‘June 17, 2023 $983.00 Wells Fargo D.T.
aaaa June 17, 2023 $983.00 Wells Fargo E.H.
bbbb ‘June 17, 2023 $983.00 Wells Fargo G.G.
cccc June 17, 2023 $763.00 Wells Fargo G.H.
dddd June 17, 2023 $983.00 Wells Fargo M.D.
eeee ‘June 17, 2023 $983.00 Wells Fargo R.B.
ffff June 17, 2023 $983.00 Wells Fargo Te.
gee8 June 18, 2023 $983.00 Wells Fargo E.H.
hhhh ‘June 18, 2023 $983.00 Wells Fargo M.D.
iiii June 19, 2023 $563.00 Wells Fargo ALF.
iii June 19, 2023 $223.00 Wells Fargo D.T.
kkkk ‘June 19, 2023 $983.00 Wells Fargo E.H.
lil June 19, 2023 $243.00 Wells Fargo G.G,
mmmm June 19, 2023 $983.00 Wells Fargo M.D.
nnnn June 19, 2023 $843.00 Wells Fargo R.B.
0000 “June 19, 2023 $982.50 Wells Fargo Le.
pppp -June 20, 2023 $983.00 Wells Fargo E.H.

wed

14

Case 1:25-mj-00433-JSA Document 2-1 Filed 04/30/25 Page 16 of 20

Date Amount Bank ATM Account Name

qqqq June 20, 2023 $983.00 Wells Fargo M.D.
rir June 20, 2023 $982.50 Wells Fargo Tt.
SSSS June 21, 2023 $983.00 Wells Fargo ALF.
tttt June 21, 2023 $983.00 Wells Fargo D.T.
uuuu June 21, 2023 $983.00 Wells Fargo E.H.
VvVvV June 21, 2023 $983.00 Wells Fargo G.G.
wwww -June 21, 2023 $983.00 Wells Fargo G.H.
XXXX ‘June 21, 2023 $983.00 Wells Fargo J.B.

yyyy June 21, 2023 $823.00 Wells Fargo J.M.
ZZZZ - June 21, 2023 $843.00 Wells Fargo KJ.

aaaaa June 21, 2023 $983.00 Wells Fargo L.E.
bbbbb June 21, 2023 $983.00 Wells Fargo M.D.
ccecce ‘June 21, 2023 $983.00 Wells Fargo R.B.
ddddd June 21, 2023 $983.00 Wells Fargo ME.
eeeee June 22, 2023 $983.00 Bank of America AF.
fffff ‘June 22, 2023 $983.00 Bank of America D.T.
geegs June 22, 2023 $983.00 Wells Fargo E.H.
hhhhh June 22, 2023 $983.00 Bank of America G.G.
iiiii June 22, 2023 $983.00 Bank of America G.H.
i June 22, 2023 $983.00 Bank of America JB.

kkkkk June 22, 2023 $983.00 Bank of America L.E.
Hi June 22, 2023 $983.00 Wells Fargo M.D.
mmmmm June 22, 2023 $983.00 Wells Fargo R.B.
nonnn June 22, 2023 $983.00 Wells Fargo T.C.
00000 June 23, 2023 $983.00 Wells Fargo AF.
ppppp June 23, 2023 $983.00 Wells Fargo D.T.
qqqaqq June 23, 2023 $983.00 Wells Fargo E.H.
rrrrr June 23, 2023 $983.00 Wells Fargo G.G.
SSSSS June 23, 2023 $983.00 Wells Fargo G.H.
ttttt -June 23, 2023 $983.00 Wells Fargo J.B.

uuuuu ‘June 23, 2023 $983.00 Wells Fargo L.E.
VVVVV June 23, 2023 $983.00 Wells Fargo M.D.
wwwww ‘June 23, 2023 $983.00 Wells Fargo R.B.
XXXXX June 23, 2023 $983.00 Wells Fargo Te.
yYVYY June 23, 2023 $983.00 Wells Fargo T.M.
ZZZZZ, ‘June 24, 2023 $983.00 Wells Fargo AF.
aaaaaa “June 24, 2023 $983.00 Bank of America D.T.
bbbbbb June 24, 2023 $23.00 Wells Fargo E.H.
cccece ‘June 24, 2023 $983.00 Wells Fargo G.G.
dddddd June 24, 2023 $983.00 Wells Fargo G.H.

15

Case 1:25-mj-00433-JSA Document 2-1 Filed 04/30/25 Page 17 of 20

»

Date Amount Bank ATM Account Name
eeecee June 24, 2023 $983.00 Bank of America J.B.
ffffff June 24, 2023 $983.00 Wells Fargo LE.
gegeee ‘June 24, 2023 $73.00 Wells Fargo M.D.
hhhhhh June 24, 2023 $983.00 Wells Fargo R.B.
iiiiii June 24, 2023 $983.00 Wells Fargo T.C.
ji ‘June 24, 2023 $983.00 Wells Fargo T.M.
kkkkkk June 25, 2023 $983.00 Bank of America AF.
Wii June 25, 2023 $983.00 Wells Fargo D.T.
mmmmmm _ | June 25, 2023 $983.00 Wells Fargo G.G.
nnnnnn June 25, 2023 $983.00 Wells Fargo G.H.
000000 June 25, 2023 $983.00 Wells Fargo J.B.
pppppp -June 25, 2023 $983.00 Wells Fargo LE.
qqqqqa June 25, 2023 $983.00 Wells Fargo R.B.
ririrr June 27, 2023 $983.00 Wells Fargo Tx,
SSSSSS June 27, 2023 $983.00 Wells Fargo T.M.
ttttttt June 28, 2023 $983.00 Wells Fargo TG
uuuuuu June 28, 2023 $983.00 Bank of America T.M.
VVVVVV ‘June 29, 2023 $983.00 Wells Fargo T.C,
Wwwwwww June 29, 2023 $983.00 Wells Fargo T.M.
XXXXXX ‘June 30, 2023 $983.00 Wells Fargo TL.
YYVYYY ‘June 30, 2023 $983.00 Wells Fargo T.M.
ZZZZZZ July 1, 2023 $983.00 Wells Fargo EC,
aaaaaaa ‘July 1, 2023 $983.00 Wells Fargo T.M.
bbbbbbb July 2, 2023 $983.00 Wells Fargo CR.
cccccce July 2, 2023 $983.00 Wells Fargo TG.
ddddddd ‘July 2, 2023 $563.00 Wells Fargo T.M.
eeeeece ‘July 5, 2023 $983.00 Bank of America CR.
ffftffT July 5, 2023 $983.00 Bank of America T.C.
geggseg July 7, 2023 $983.00 Wells Fargo C.R.
hbhhhhh July 7, 2023 $983.00 Wells Fargo L&.
iiiiiii July 9, 2023 $983.00 Wells Fargo C.R.
Ji July 9, 2023 $393.00 Wells Fargo T.C.
kkkkkkk July 10, 2023 $983.00 Wells Fargo C.R.
HH July 12, 2023 $983.00 Wells Fargo C.R.
mmmmmmm | July 13, 2023 $983.00 Wells Fargo CR.
nnnnnnn July 14, 2023 $982.50 Wells Fargo CR.
0000000 ‘September 18, 2023 | $63.00 Wells Fargo A.F,
ppppppp September 18, 2023 | $63.00 Wells Fargo G.G.
qqqqqqq September 18, 2023 | $63.00 Wells Fargo L.E.
rmmrrir . September 19, 2023 | $63.00 Wells Fargo D.T.

£
het

16

Case 1:25-mj-00433-JSA Document 2-1 Filed 04/30/25 Page 18 of 20

e
-

. Date Amount Bank ATM Account Name
SSSSSSS September 19, 2023 | $43.00 Wells Fargo G.H.
ttttttt ‘September 19, 2023 | $83.00 Wells Fargo J.B.
uuuuuuu September 19, 2023 | $63.00 Wells Fargo R.B.

35.  Onor about the following dates, Defendant withdrew funds at Wells Fargo ATMs
using pre-paid Pathward debit cards in the names and amounts set forth below, each such

withdrawal constituting a separate act in furtherance:

Date Account Name Amount
a November 2, 2023 T.M. $983.00
b “November 2, 2023 J.B. $903.00
c | November 2, 2023 C.R. $583.00
d | November 2, 2023 J.M. $503.00
e November 2, 2023 G.H. $233.00
it -November 13, 2023 ALF. $983.00
g ‘November 13, 2023 C.R. $983.00
h ‘November 13, 2023 G.G. $983.00
i | November 13, 2023 J.M. $983.00
j ‘ November 13, 2023 T.M. $983.00
k | November 13, 2023 J.B. $943.00
l November 13, 2023 D.T. $773.00
m ‘November 14, 2023 K.J. $983.00
0 .November 20, 2023 D.R. $983.00
p | November 20, 2023 G.H. $983.00
q - November 20, 2023 KJ. $983.00
r | November 20, 2023 L.E. $983.00
S November 20, 2023 M.D. $983.00
t ‘November 20, 2023 RB. $983.00
u November 20, 2023 Er: $982.50
Vv November 20, 2023 IEE. $982.50
w _ November 20, 2023 C.R. $722.50
x | November 20, 2023 T.M. $332.50
y November 20, 2023 A.F. $152.50
Z ‘November 20, 2023 J.M. $142.50

Allin violation of Title 18, United States Code, Section 1956(h).

&

pode Oy

17
Case 1:25-mj-00433-JSA Document 2-1 Filed 04/30/25 Page 19 of 20

: COUNTS 5-8
‘(Aggravated Identity Theft, 18 U.S.C. §§ 1028A(a)(1) and 2)

The Grand Jury further charges:

36. The factual allegations contained in Paragraphs 1 through 7 and 9 through 28 of
the Indictment aie re-alleged and incorporated by reference as if fully set forth herein.

a7) On or about the dates listed below, in the Northern District of Ohio, Eastern
Division, and inboiiae: Defendant CHINEDU OPUTE did knowingly transfer, possess, and
use, and did aid and abet the transfer, possession, and use of, a means of identification of another
person, without lawfia authority, during and in relation to a felony violation enumerated in Title
18, United Steaks Ca, Section 1028A(c), to wit: Wire Fraud, in violation of Title 18, United
States Code, Sextton 1343, Bank Fraud, in violation of Title 18, United States Code, Section
1344(2), and Araauiey to Commit Fraud Offense, in violation of Title 18, United States Code,
Section 1349, knowing that the means of identification belonged to another actual person, to wit:
the following traisfers of funds from the ODFS Airwallex account to the following Pathward

pre-paid debit cards, each transfer, possession, and use constituting a separate count of this

Indictment:
Count Date Pathward Description Amount | Name
2 Card No.
5 June 7; 2023 x8703 wages salary odfs payment $4,670.50 J.B.
6 June 7, 2023 x1108 freight odfs payment $8,736.68 KJ.
7 June 7, 2023 x7002 freight odfs payment $9,102.12 D.T.
8 June 10, 2023 x2405 freight ODFS payment $9,891.62 Pula

All in violation of Title 18, United States Code, Sections 1028A(a)(1) and 2.

A TRUE BILL.

Original document - Signatures on file with the Clerk of Courts, pursuant to the E-Government

Act of 2002.

18

Case 1:25-mj-00433-JSA Document 2-1 Filed 04/30/25

¥

United States v. Chinedu Opute

A TRUE BILL.

Page 20 of 20

FOREPERSON

ae tie?

CAROL M. SKUTNIK
Acting United States Attorney

Xz

By: :
Elliot Morrison
Chief, White Collar Crimes Unit

€
a
+

ao dim

she

“ee

19
